AVERY":
PV119ED

\S)

Case 1:04-cr-00911-JS Document 671-3 Filed 05/05/08 Page 1 of 1 PagelD #: 3710

a a ees

B= 795-751

Me Panties Pega ntianas”
Ge At tery Cerrar Comey

NO GAR DELIVERED WITHOUT THIS

CLAI CHECK
LIC. No.

220 WEST 41st ST.
Lic, #0961704 Tel. # 730-1777

HOURS AS POSTED

— PARKING CONTRACT —
Your vehicle is accepted for parking only,
We are not responsible for articles loft In cars.

EP Toledo Toket 6o., Toledo, OH

= nn ae Nh Sra mgstetemaeetnes

Serre

  

220 WEST 41st ST.
8 f) - 3 4 66 R

 

   
  

@ 25,000.00
SHON ed ood PAID WHEN
no Ve RECEIPT

V. Mo 929 .e2"—0 AND

“ ne ea ‘
WHEN ENTERING INDICATE DAMAGED ABEA WITH AN “X"
a __RIGHT

 
  

 

 

CHECKED BY

DEFEND

  

 

   

ANT'S
EXHIBIT

   
 
